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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS



 UNITED STATES OF AMERICA, et al.,

                          Plaintiffs,

 v.                                                   Civil Action No.: 1:23-cv-10511-WGY

 JETBLUE AIRWAYS CORPORATION and
 SPIRIT AIRLINES, INC.,

                          Defendants.


            [PROPOSED] SCHEDULING AND CASE MANAGEMENT ORDER

       1.      Case Schedule. Unless otherwise specified, days will be computed according to

Federal Rule of Civil Procedure 6(a). The Parties agree that no motions to dismiss, motions for

judgment on the pleadings, or motions for summary judgment will be filed. The Court hereby

adopts the following schedule:

                              Parties’ Joint Statement on Case Schedule

       The Parties are largely in agreement with respect to the proposed case schedule.

However, for the small number of disputed issues that still remain, the Parties have included

below the proposed case schedule a concise explanation of their respective positions.


                                       Parties’ Proposed Schedule
                       Event                                               Date
Fact discovery begins                               March 17, 2023
Date by which any other parties shall be joined     April 4, 2023
or the pleadings amended
Parties serve preliminary trial fact witness list   May 1, 2023
and list of experts that they intend to call
Close of fact discovery                            June 28, 2023
Parties exchange final trial witness lists         June 30, 2023
(including experts)
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Close of supplemental fact discovery (see                    July 31, 2023
Paragraph 9)
Deadline to file Summary Judgment Motions1                   August 1, 2023
Parties exchange initial deposition designations             August 3, 2023
Parties exchange deposition counter-                         August 10, 2023
designations
Parties exchange initial exhibit lists                       August 17, 2023
Parties to meet and confer on confidentiality                August 18, 2023
procedures for trial evidence
Parties submit proposed order (or competing                  August 21, 2023
orders) concerning procedures for treatment of
competitively sensitive information at trial
Each Party informs each non-party of all                     August 22, 2023
documents produced by that non-party that are
on that Party’s exhibit list and all depositions of
that non-party that have been designated by any
Party
Parties exchange draft sections of pretrial                  September 1, 2023
memorandum, including objections (based on
evidentiary issues and confidentiality) to exhibits
and deposition designations
Parties exchange revised exhibit list at noon ET             September 8, 2023
Parties file any motions in limine                           September 11, 2023
Joint Pretrial Memorandum to be filed                        September 15, 2023
Oppositions to any motions in limine                         September 20, 2023
Replies to any oppositions to motions in limine              September 26, 2023
Trial Briefs pursuant to L.R. 16.5(f)                        October 9, 2023
Parties submit final trial exhibits to Court                 October 16, 2023
Trial begins                                                 October 16, 2023

       Plaintiffs’ Proposed Expert Discovery                           Defendants’ Proposed Expert Discovery
                      Schedule                                                       Schedule

Plaintiffs’ Initial Expert       July 6, 2023 (backup                Parties’ Initial Expert    July 6, 2023
Report(s)                        materials 1 day later)              Report(s)                  (backup materials 1
                                                                                                day later)
Defendants’ Rebuttal             August 3, 2023                      Parties’ Rebuttal Expert   August 10, 2023
Expert Report(s) to              (backup materials 1                 Report(s) to Initial       (backup materials 1
Initial Expert Report(s)         day later)                          Expert Report(s)           day later)
Plaintiffs’ Reply Expert         August 25, 2023
Report(s) to Rebuttal            (backup materials 1                 No Reply Reports           N/A
Expert Report(s)                 day later)


1
    All parties have agreed to waive motions for summary judgment.



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Close of expert             September 8, 2023                          Close of expert          August 31, 2023
          2                                                                      2
discovery                                                              discovery
    Plaintiffs’ Position on Expert Discovery                            Defendants’ Position on Expert Discovery
                     Schedule                                                          Schedule


Sequential expert reports: Plaintiffs’ proposed                        Simultaneous exchange of expert reports:
sequence of expert reports—Plaintiffs’ report(s),                      Defendants propose to have two simultaneous
then Defendants’ rebuttal(s), then Plaintiffs’                         exchanges of expert reports (an opening and
reply or replies—is appropriate because it                             rebuttal, with the opening by both sides being
reflects Plaintiffs’ ultimate burden to prove that                     full initial reports), rather than three rounds of
Defendants’ proposed merger is unlawful.                               non-simultaneous disclosures as Plaintiffs
Plaintiffs’ proposed report sequence follows the                       propose. Defendants’ proposal would:
case in this District challenging JetBlue’s
Northeast Alliance with American Airlines, see                             a. make the best use of time to conduct
ECF 76 at 2, United States v. American Airlines                               expert discovery, which is significant
Grp., Inc. and JetBlue Airways Corp., No. 21-                                 in this expedited merger case;
cv-11558-LTS (D. Mass.), and scheduling orders                             b. allow each side two reports, thus
in many recent merger cases, see, e.g., ECF 46 at                             ensuring Defendants and Plaintiffs
2, United States v. ASSA ABLOY AB, No. 22-cv-                                 have an equal opportunity to express all
2791 (D.D.C.); ECF 42 at 3-4, United States v.                                opinions and respond to the other side’s
UnitedHealth Grp. Inc., No. 22-cv-481 (D.D.C.);                               expert(s), and
ECF 70 at 7, United States v. U.S. Sugar Corp.,                            c. eliminate the frequent dispute over
No. 21-cv-1644 (D. Del.); see also ECF 71 at 2,                               whether Plaintiffs’ reply expert report
United States v. U.S. Airways Grp., Inc., No. 13-                             has “new” analyses, thus entitling
cv-1236 (D.D.C.) (setting deadlines for                                       Defendants to a rebuttal report.
plaintiffs’, then defendants’, then “supplemental
and/or rebuttal” reports in airline merger case).                      Defendants’ proposal is consistent with Fed. R.
                                                                       Civ. P. 26(a)(2)(D) and simultaneous
Reply report(s): Defendants’ proposal to limit                         exchanges that occurred in merger and airline
expert reports to two simultaneous rounds would                        matters involving DOJ, as well as in matters
frustrate the purpose of expert discovery by                           before this Court. See, e.g., U.S. v.
preventing the experts from fully joining issue                        Bertelsmann SE & Co. KGaA et al., No. 21-
on areas of dispute—under Defendants’                                  2886-FYP (D.D.C.), ECF No. 53; U.S. v.
proposed schedule, Defendants’ expert(s) will                          United Cont’l Holdings, Inc. et al., No. 2:15-
file opening report(s) without knowing what they                       cv-07992-WHW-CLW (D.N.J.), ECF No. 24;
are disputing, and Plaintiffs’ expert(s) will never                    Bio-Rad Lab'ys, Inc. v. 10X Genomics, Inc.,
be able to respond to critiques of their analysis.                     No. 1:19-cv-12533-WGY (D. Mass.), ECF No.
Defendants’ proposed schedule also leaves 21                           39.
days of expert discovery after rebuttal report(s).
This time would better be used to sharpen the                          Plaintiffs’ assertion that Defendants’ proposal
issues with a reply.                                                   would deprive Plaintiffs’ expert(s) of any
                                                                       opportunity to submit a reply underscores why
As this Court did in Ford v. Takeda Pharm.                             the simultaneous exchange proposed by
U.S.A., Inc., the Court should grant Plaintiffs’                       Defendants is superior. Defendants’ proposal

2
    All parties must make their experts available for deposition by this date for the close of expert discovery.


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request for expert reply report(s) in light of       provides both sides an equal opportunity to
Plaintiffs’ burden of proof. ECF 62 at 9-10, No.     respond to the other side’s expert(s). Indeed, if
21-cv-10090-WGY (D. Mass.). Other cases              Plaintiffs’ proposal is accepted, Defendants
cited by Defendants are unavailing to them           would be in the very place Plaintiffs now
because the CMO in Bertelsmann provided for          complain is unfair (i.e., where Plaintiffs submit
reply reports, see ECF 69 at 2, No. 21-cv-2886       a reply to which no response is allowed).
(D.D.C.), and in Bio-Rad, which involved patent      Finally, Plaintiffs’ protests about not being
claims and antitrust counterclaims, the parties      able to submit a reply could be addressed by
agreed to “[s]upplemental . . . [r]eports.” ECF      having three rounds of simultaneous
230 at 1-2, No. 19-cv-12533-WGY (D. Mass.).          submissions, a proposal previously made by
                                                     Defendants that Plaintiffs rejected.
Close of expert discovery: Plaintiffs ask for a
schedule that allows for development of this case    The Ford case cited by Plaintiffs is inapposite
with the benefit of full expert discovery. The       because no party was seeking simultaneous
schedule is sufficiently expedited and               expert reports, and defendants were trying to
appropriately considers the observance of            limit plaintiffs to a single report.
national holidays. Defendants, whose previous
request for trial a week after Labor Day             Close of expert discovery: Because
anticipated the time exigencies of this case, will   Defendants propose only two rounds of expert
be able to conduct depositions during the            reports (rather than three), the Parties can
Aug. 26-Sept. 8 period.                              complete expert depositions and any remaining
                                                     expert discovery in advance of the Labor Day
                                                     holiday, rather than the week of the holiday.
                                                     Under Defendants’ proposal, the Parties would
                                                     have 21 days from the submission of the
                                                     rebuttal reports, until August 31, 2023, to
                                                     conduct expert depositions and complete
                                                     expert discovery. In addition, Defendants’
                                                     proposed schedule would provide the parties
                                                     with sufficient time to account for expert
                                                     depositions when they submit revised exhibit
                                                     lists (September 8), in limine motions
                                                     (September 11), and the Joint Pre-Trial
                                                     Memorandum (September 15).


 Plaintiffs’ Proposed Date Certain for Post-             Defendants’ Proposed Date Certain for
 Trial Briefing and Oral Closing Arguments                Post-Trial Briefing and Oral Closing
                                                                        Arguments
                           To be set at the final    Post-trial proposed        November 17, 2023
Post-trial proposed
                           pre-trial conference;     findings of fact and
findings of fact and
                           alternatively, on or      conclusions of law to be
conclusions of law to be
                           after December 1,         filed
filed
                           2023
Oral closing arguments     Next business day         Oral closing arguments      November 20, 2023
                           following the close of                                or at the Court’s
                           evidence                                              earliest


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                                                                               convenience after
                                                                               submission of post-
                                                                               trial proposed
                                                                               findings of fact and
                                                                               conclusions of law
 Plaintiffs’ Position on Date Certain for Post-         Defendants’ Position on Date Certain for
 Trial Briefing and Oral Closing Arguments               Post-Trial Briefing and Oral Closing
                                                                      Arguments

Because pre-trial submissions will likely clarify     This is an expedited merger matter where the
the key factual and legal issues for resolution by    parties’ and public interest favor a decision by
the Court, Plaintiffs propose to defer setting the    the end of the year or as soon as practicable.
schedule for post-trial submissions until the final   To help facilitate a speedy resolution and allow
pre-trial conference. If the Court, however,          the parties and the Court to plan ahead,
prefers to set a deadline for proposed findings of    everyone benefits from a fully set schedule.
fact and conclusions of law now, Plaintiffs           Thus, Defendants seek to include a date for
respectfully request that such deadline be set for    post-trial submissions and closing arguments.
on or after December 1, 2023. The “outside            Defendants also respectfully submit that
date” chosen by Defendants for consummation           conducting closing arguments after the parties’
of their merger is not until July 24, 2024.           post-trial submissions is beneficial because the
Plaintiffs’ proposal takes into account the need      Court will have all of the factual and legal
to submit briefing and related materials to the       disputes before it in written form at the time
Court as soon as possible, but balances that          the parties are making their closing arguments.
against the need to provide the parties—
including eight Plaintiffs—sufficient time to         The so-called “outside date,” which is the day
review, synthesize, and summarize effectively         by which the Proposed Transaction must be
what will be a lengthy transcript and voluminous      closed to avoid termination of the agreement,
record. Plaintiffs defer to the Court regarding       does not provide a reason to delay an
the date of closing arguments, but would prefer       otherwise expedited case schedule. To the
it be scheduled the first business day following      extent the “outside date” has any relevance, it
the presentation of evidence or as soon thereafter    supports Defendants’ proposal for prompt
as the Court's schedule permits.                      post-trial briefing and argument, which will
                                                      allow the Court sufficient time to render a
                                                      decision and still leave time for appeal. In
                                                      addition, the Department of Transportation
                                                      (DOT) is proposing to conduct a separate and
                                                      wholly unprecedented additional review of the
                                                      merger to be commenced after a final decision
                                                      is rendered in this case. While Defendants
                                                      dispute the DOT’s basis and proposed timing
                                                      for such a proceeding, it nevertheless creates
                                                      the potential for additional proceedings and
                                                      delay after the Court renders a judgment here.

                                                      Moreover, it is not necessary to wait for a trial
                                                      to “clarify the key factual and legal issues”
                                                      before setting post-trial deadlines, as Plaintiffs


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                                                        claim. Trial will provide no clarification on
                                                        the schedule—the only issue in dispute. In any
                                                        event, the DOJ conducted a year-long
                                                        investigation, under a frequently litigated
                                                        statute, and served a complaint identifying the
                                                        relevant factual and legal issues. There is no
                                                        reason to not set all of the deadlines now, other
                                                        than to try to create delay.


       2.      Service of Complaint. Counsel for Defendants, acting on behalf of Defendants,

have accepted service of the Complaint and have waived formal service of a summons.

       3.      Discovery Conference. The Parties’ prior consultations, submissions to the

Court on March 20, 2023, and submission of this [Proposed] Order satisfy the Parties’

obligations under Federal Rule of Civil Procedure 26(f) and Local Rule 16.1(b).

       4.      Completion of Proposed Transaction. Defendants have agreed that they will

not close, consummate, or otherwise complete the Proposed Transaction until 12:01 a.m. on the

10th day following the entry of the judgment by the Court in this matter, and only if the Court

enters an appealable order that does not prohibit consummation of the transaction. For purposes

of this Order, “Proposed Transaction” means the proposed acquisition of Spirit Airlines, Inc. by

JetBlue Airways Corporation.

       5.      Jurisdiction and Venue. Defendants have consented to personal jurisdiction and

venue in this Court.

       6.      Discovery of Confidential Information. The Court has entered a protective

order governing the discovery and production of confidential information in this action (ECF No.

66) (the “Protective Order”). A copy of the Protective Order shall be included with any

subpoenas served on non-parties.

       7.      Attorney Communications. The Parties need not preserve nor produce in

discovery the following categories of documents: (a) documents sent solely between outside


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counsel for Defendants (or persons employed by or acting on behalf of such counsel) or solely

between counsel for Plaintiffs (or persons employed by the U.S. Department of Justice or

Plaintiff States’ Offices of the Attorney General); and (b) documents that were not directly or

indirectly furnished to any non-Party, such as internal memoranda, authored by Defendants’

outside counsel (or persons employed by or acting on behalf of such counsel) or by counsel for

Plaintiffs (or persons employed by the U.S. Department of Justice or Plaintiff States’ Offices of

the Attorney General).

       8.      Initial Disclosures. The Parties, having agreed to a mutual exchange of

investigative materials, have therefore agreed to waive the exchange of disclosures under Federal

Rule of Civil Procedure 26(a)(1).

       9.      Timely Service of Fact Discovery and Supplemental Discovery. All discovery,

including discovery served on non-parties, must be served in time to permit completion of

responses by the close of fact discovery. However, notwithstanding any other provision of this

Order, each Party may issue supplemental discovery requests, including document requests for

custodial files and deposition notices, related to any person identified on a Party’s final trial

witness list who was not identified on that Party’s preliminary trial witness list within 7 days of

receipt of final trial witnesses lists; provided, however, that (i) no additional depositions may be

sought from any person who was previously deposed during this action (not including

depositions pursuant to Civil Investigative Demands) and (ii) no additional document requests

may be served on any person that was previously a custodian. The deadline for supplemental

discovery related to new witnesses in Paragraph 1 shall apply; provided, however, that the

Parties may agree to reasonable modifications to that deadline. Notwithstanding any other

deadlines in this Order, a Party may take limited discovery related to the authenticity of any




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document on that Party’s exhibit list to which the opposing side objects on the ground that such

document is inauthentic.

       10.     Written Discovery on Parties.

               (a)     Document Requests. There is no limit on the number of requests for the

production of documents that may be served by the Parties. The Parties must serve any

objections to requests for productions of documents within 7 business days after the requests are

served. Within 3 business days of service of any objections, the Parties must meet and confer to

attempt to resolve in good faith any objections and to agree on custodians to be searched. The

Parties must make good-faith efforts to make rolling productions of responsive productions (to

the extent not subject to any objections or custodian issues that have not been resolved) no later

than 14 days after service of the request for production. The Parties must make good-faith

efforts to substantially complete production of documents, data, or data compilations no later

than 28 days after service of the requests for production and must make good-faith efforts to

complete production within 40 days after service of the requests for production, unless otherwise

extended by agreement between the Parties. In accordance with Local Rule 26.1(c), Plaintiffs

collectively may serve two separate sets of requests for production on each Defendant, and

Defendants collectively may serve two sets of requests for the production on each Plaintiff.

Given the expedited schedule for fact discovery, any second set of requests for production must

be served no later than 30 days before the close of fact discovery and must be limited to (a)

requests seeking information or documents that such Party did not reasonably know to request in

a first set of requests for production (e.g., related to information discovered during the course of

a deposition or public announcements by a Party), or (b) “go get” requests for production not

calling for custodial review. Notwithstanding Local Rule 26.1(c), if any Party seeks additional




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documents or information following a second set of requests for production based on newly

obtained information that such Party could not have reasonably known to request prior to service

of the second set of requests for production, the Parties shall meet-and-confer in good faith.

               (b)     Data Requests. In response to any requests to which data or data

compilations are responsive, the Parties will meet and confer in good faith regarding the requests

and, as needed, will seek prompt assistance from employees knowledgeable about the content,

storage, and production of data.

               (c)     Interrogatories. This Order expressly modifies Local Rule 26.1(c) such

that Interrogatories are limited to 10 by Plaintiffs collectively to Defendants and to 10 by

Defendants collectively to Plaintiffs. Subparts shall be governed by Local Rule 26.1(c). The

Parties must serve any objections to interrogatories within 7 business days after the

interrogatories are served. Within 3 business days of service of any objections, the Parties must

meet and confer to attempt to resolve the objections. Parties shall fully respond to interrogatories

no later than 28 days after service of the interrogatories.

               (d)     Requests for Admission. This Order expressly modifies Local Rule

26.1(c) such that Requests for Admission are limited to 10 by Plaintiffs collectively to

Defendants and to 10 by Defendants collectively to Plaintiffs. Subparts shall be governed by the

provision of Local Rule 26.1(c) concerning interrogatory subparts. The Parties must serve any

objections to requests for admission within 7 business days after the requests are served. Within

3 business days of service of any objections, the Parties must meet and confer to attempt to

resolve the objections. Parties shall make good-faith efforts to fully respond to requests for

admission no later than 28 days after service of the requests.




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       11.     Document Subpoenas to Non-Parties. The Parties will in good faith cooperate

with each other with regard to any discovery to non-parties in an effort to minimize the burden

on non-parties. Each Party must serve a copy of any subpoena to a non-party on the other Parties

at the same time as the subpoena is served on the non-party. Every subpoena to a non-party shall

include a cover letter requesting that (a) the non-party Bates-stamp each document with a

production number and any applicable confidentiality designation prior to producing it; and

(b) the non-party provide to the other Parties copies of all productions at the same time as they

are produced to the requesting Party. If a non-party fails to provide copies of productions to the

other Parties, the requesting Party shall provide such copies to the other Parties, in the format the

productions were received by the requesting Party, within 3 business days of the requesting Party

receiving such materials from the non-party. In addition, if a non-Party produces documents or

electronically stored information that are not Bates-stamped, the Party receiving those materials

shall request that the non-party Bates-stamp all documents or electronically stored information

and produce such Bates-stamped copies to all Parties simultaneously. Within 2 business days of

any agreement with a non-party, each Party must provide the other Parties with a copy of any

written communication (including email) with any non-party concerning any modifications,

extensions, or other negotiations concerning the non-party’s response to the subpoena, or in the

case of an oral modification, a written record summarizing the oral modification.

              Plaintiffs’ Proposal                       Defendants’ Proposed Additional
                                                       Language in Paragraph 11 Regarding
                                                        Disputes with Subpoena Recipients


    [Strike Defendants’ proposed additional        The Parties shall use best efforts to ensure
                  language.]                       that this Court handles all third-party
                                                   discovery disputes. This will streamline the
                                                   litigation, avoid delays in other jurisdictions,
                                                   offer predictability and consistency in
                                                   discovery rulings, and help inform the Court


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                                                    on the relevant issues. As a result, where any
                                                    Party seeks the Court’s intervention in a
                                                    discovery dispute involving a third party, it
                                                    shall join the third party in communications
                                                    with the Court to set a hearing. Where a third
                                                    party files a discovery motion in a different
                                                    court, Plaintiffs or Defendants shall inform
                                                    that court of this Order and seek transfer here.

              Plaintiffs’ Position                              Defendants’ Position


Defendants’ proposal for all disputes               Defendants have served over 30 third-party
concerning third-party subpoenas served on          subpoenas for documents on entities located
non-parties in other districts to be heard in       in twenty different states or territories.
this District is contrary to the Federal Rules of   Plaintiffs have also started serving document
Civil Procedure, which appropriately balance        subpoenas on non-parties (thus far on a subset
non-parties’ interests and address non-party        of the entities whom Defendants have served).
disputes on a case-by-case basis. Under Rule        The parties have agreed that fact discovery
45, motions to compel and motions to quash          would close on June 28, 2023—which leaves
or modify a subpoena are to be heard in “the        twelve weeks for completing meet and
court for the district where compliance is          confers, producing documents, engaging in
required.” Fed. R. Civ. P. 45(d). The Court         any motion practice regarding the document
should not adopt Defendants’ proposal to            subpoenas, and deposing some of the third
categorically undermine this rule, especially       parties. Thus, having a streamlined subpoena
as any court presiding over a non-party             enforcement process is important; and having
dispute can be advised of the discovery             consistent subpoena enforcement under this
schedule. Non-party discovery disputes              Court’s supervision will ensure the Court is
should proceed as envisioned by Rule 45             presented with the evidence that will help in
unless “the person subject to the subpoena          the decision on the merits. This type of order
consents or if the court finds exceptional          is consistent with Rule 45. In fact, it is the
circumstances.” Fed. R. Civ. P. 45(f). In the       same order Judge Boasberg recently entered
absence of a concrete dispute with a non-party      in the FTC’s antitrust lawsuit against Meta
(like the disputes that arose in the FTC/Meta       pending in the United States District Court for
litigation before the order on which                the District of Columbia. Based on the
Defendants rely), Defendants cannot satisfy         proceedings in the Meta case, it appears that
the “exceptional circumstances” standard.           this order was both efficient and effective in
Defendants’ proposal is also flawed because it      reducing the number of disputes with non-
seeks to bind non-parties, impacts how other        parties. Of the dozens of subpoenas issued in
courts in other districts construe their            that case, just a handful have resulted in
jurisdiction, and conscripts Plaintiffs into        motion practice. Further, this order would not
supporting hypothetical future motions to           prejudice Plaintiffs in any way; non-party
transfer.                                           disputes would be handled efficiently,
                                                    consistently, and in Plaintiffs’ chosen venue.

                                                    Following a case-by-case basis, as Plaintiffs
                                                    propose, will only lead to delay. Moreover,


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                                                     their quotation of the Rules is inapposite. The
                                                     Rules expressly allow for one Court to hear
                                                     all non-party subpoena disputes, and that is all
                                                     that Defendants request. So Plaintiffs’ claim
                                                     that they would bind non-parties and impact
                                                     how other courts in other districts construe
                                                     their jurisdiction, simply disagrees with the
                                                     Rule. Finally, Plaintiffs’ move to make
                                                     subpoena enforcement more difficult
                                                     prejudices Defendants. Over its yearlong
                                                     investigation, DOJ took significant non-party
                                                     discovery; Defendants have taken none.
                                                     Thus, making subpoena enforcement will
                                                     have significant detrimental impact on
                                                     Defendants, and no impact on DOJ. Simply
                                                     stated, DOJ already took its non-party
                                                     discovery. That is why Plaintiffs are willing
                                                     to agree to nationwide service of trial
                                                     subpoenas, so they can drag any witness to
                                                     this Court for trial, but then they
                                                     inconsistently claim it is unfair for non-party
                                                     subpoena enforcement to work the same way.


        12.     Depositions.

                (a)     Number. Each side is limited to 30 fact depositions of witnesses. The

following depositions do not count against the deposition cap imposed by the preceding

sentences: (i) depositions of any persons identified on a Party’s final trial witness list who were

not identified on that Party’s preliminary trial witness list; (ii) depositions of the Parties’

designated expert witnesses; (iii) depositions taken in response to Civil Investigative Demands;

and (iv) depositions taken for the sole purpose of establishing the location, authenticity, or

admissibility of documents produced by any Party or non-party, provided that such depositions

may be noticed only after the Party taking the deposition has taken reasonable steps to establish

location, authenticity, or admissibility through other means, and further provided that such

depositions must be designated at the time that they are noticed as being taken for the sole

purpose of establishing the location, authenticity, or admissibility of documents.


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               (b)     Scheduling. The Parties shall use reasonable efforts to reduce the burden

on witnesses noticed for depositions and to accommodate the witnesses’ schedules. Depositions

shall be conducted in-person in the locations where witnesses reside or are employed, unless the

noticing Party or Parties and the witness mutually agree otherwise; provided, however, that any

deposition of a witness under the Parties’ control must take place in the United States. If a Party

serves a non-Party a subpoena for the production of documents or electronically stored

information and a subpoena commanding attendance at a deposition, the Party serving those

subpoenas must schedule the deposition for a date at least 7 business days after the return date

for the document subpoena, and if the Party serving those subpoenas agrees to extend the date of

production for the document subpoena in a way that would result in fewer than 7 business days

between the extended production date and the date scheduled for that non-party’s deposition, the

date scheduled for the deposition must be postponed to be at least 7 business days following the

extended production date, unless all other Parties consent to fewer than 7 business days.

               (c)     Time. Except as provided in this paragraph, depositions of fact witnesses

are limited to no more than one day of 7 hours on the record unless agreed by the witness or

ordered by the Court. A Plaintiff noticing a deposition may cede some or all of its examination

time to another Plaintiff. A Defendant noticing a deposition may cede some or all of its

examination time to another Defendant. During non-party depositions, the non-noticing side will

receive at least two hours of examination time. If a non-party deposition is noticed by both

sides, then time will be divided equally between the sides, and the deposition of the non-party

will count as one deposition for both sides. Pursuant to Federal Rule of Civil Procedure 30(d),

because Defendants are negotiating divestiture agreements with one or more divestiture buyers,

whose testimony is likely to be material to multiple issues on which different sides bear the




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burden of proof, the length of depositions of divestiture buyers or their employees noticed by

both sides is extended to 10 hours on the record, divided equally between the sides, and may be

continued through a second day if agreed with the deponent in advance, to permit both sides to

fairly examine the deponent; provided, however, that this shall not preclude such a deponent

from seeking a shorter deposition after meeting and conferring with the noticing Parties.

               (d)     Objections. Any objection made by any Party in a deposition preserves

that objection for every Party.

               (e)     CID Depositions. Any Party may further depose any person whose

deposition was taken pursuant to a Civil Investigative Demand (“CID”), and the fact that such

person’s deposition was taken pursuant to a CID may not be used as a basis for any Party to

object to that person’s deposition. Depositions taken pursuant to CID may be used at trial if

admissible under the Federal Rules of Civil Procedure.

               (f)     Rule 30(b)(6) Depositions. Plaintiffs may issue two notices per

Defendant of that Defendant’s deposition pursuant to Rule 30(b)(6) of the Federal Rules of Civil

Procedure, for a total of 7 hours on the record per each deposition, regardless of whether

Defendants designate more than one witnesses to testify on their behalf. Plaintiffs must serve

any second notice of a Defendant’s deposition under Rule 30(b)(6), which must be limited to

topics that Plaintiffs did not include in the first notice and that otherwise has not been addressed

through other deposition testimony, no later than 30 days before the close of fact discovery.

Where a witness testifying on behalf of a Defendant under Rule 30(b)(6) has also been noticed as

a fact witness, the Parties shall confer regarding whether it is reasonable to take both depositions

on the same day. Each deposition of a Party to be taken under Federal Rule of Civil Procedure




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30(b)(6) counts as one deposition for the purpose of the limit in Paragraph 12(a), regardless of

the number of witnesses produced to testify on the matters for examination in that deposition.

       13.     Previously Served Discovery Requests. For purposes of calculating deadlines

under this Order, any discovery requests served prior to the entry of this Order shall be deemed

to have been served on the later of the date of the March 21, 2023 scheduling conference and the

date actually served.

       14.     Discovery from Northeast Alliance Litigation. Documents and other discovery

materials produced in United States et al. v. American Airlines Group Inc. and JetBlue Airways

Corporation, Case No. 1:21-cv-11558 (D. Mass.) (the “NEA Case”), may be used in this action

as though they were produced in this action.

       15.     Discovery from Executive-Branch Agencies. Defendants having sought

discovery from various federal and state executive branch agencies pursuant to Rule 45

subpoenas, the time periods in Paragraph 10 of this Order for discovery on Parties shall not apply

to discovery requests to such agencies (other than the U.S. Department of Justice and Plaintiff

States’ Offices of the Attorney General), regardless of the form of the requests.

       16.     ESI Specifications. Parties shall produce all documents and ESI in accordance

with the U.S. Department of Justice’s Standard Specifications for Production of ESI, except

when producing documents and ESI received from non-parties. Parties need not produce

voicemail messages, except in the case where they are contained within a Party’s e-mail system.

With regard to productions by Defendants to Plaintiffs, the deduplication protocol remains in

effect as in any production during the Investigation.

       17.     Privilege Logs.




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               (a)     Timing of Privilege Logs. Parties shall serve any privilege logs 30 days

following substantial completion of production of documents responsive to any set of document

requests. Any documents determined not to be privileged during the preparation of privilege

logs will be produced on a rolling basis and must be produced no later than service of the

corresponding privilege log.

               (b)     Contents of Privilege Logs. Other than as identified in Paragraph 17(e),

documents that are responsive to requests for production and that have been withheld or redacted

on the basis of any claim of privilege and/or work product protection must be reflected on the

Parties’ privilege logs. Privilege logs shall identify for each document for which the Party

claims privilege: (i) whether the document is being withheld or redacted; (ii) all claims of

privilege and/or attorney work product applicable to the document withheld or redacted; (iii) a

description of the specific subject matter of the document or communication not produced or

disclosed in a manner that, without revealing information itself privileged or protected, will

enable other Parties, and the Court to evaluate the applicability of the privilege; and (iv) the

following non-privileged metadata: all authors, addressees, and recipients of the document;

subject line (if an email) or the file name (if non-email); date of the document; type of document

(e.g., .pdf, Excel, .msg); Bates range; family Bates range if applicable; and custodian(s). Each

privilege log will be produced along with a separate index containing an alphabetical list (by last

name) of each name on the privilege log, identifying titles (for Party employees), company

affiliations, the members of any group or email list on the log where practicable (e.g., the Board

of Directors), and any name variations used in the privilege log for the same individual.

               (c)     Identification of Legal Personnel on Privilege Logs. For each entry of

any privilege log, all attorneys acting in a legal capacity with respect to that particular document




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or communication will be marked with the designation ESQ after their names (include a space

before and after the “ESQ”). Further, the Parties shall identify all persons working in a legal

capacity with respect to the withheld material other than attorneys, e.g., paralegals, and legal

secretaries who appear on the privilege log.

               (d)       Claw-Back Privilege Logs. In the event that a Party seeks the return of

previously produced documents on the basis of privilege (“Claw-Back”), as permitted by the

Protective Order and Paragraph 18 of this Order, the disclosing Party must provide written notice

and take all reasonable measures to retrieve the improperly disclosed material. The disclosing

Party must also provide a privilege log corresponding to the respective Clawed-Back documents,

consistent with this Paragraph.

               (e)       Documents Presumptively Excluded from Privilege Logs. The parties

agree that the following privileged or otherwise protected communications may be excluded

from privilege logs:

                        i.      documents or communications sent solely between counsel for the

Defendants (or persons employed by or acting on behalf of such counsel) after July 28, 2022;

                       ii.      documents or communications sent solely between outside counsel

for either Defendant (or persons employed by or acting on behalf of such counsel) and that

Defendant;

                     iii.       documents or communications sent solely among inside counsel

(acting in a purely legal capacity) for a Defendant;

                       iv.      documents or communications sent solely between counsel for

Plaintiffs (or persons employed by or acting on behalf of such counsel);




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                     v.       documents authored by Defendants’ outside counsel (or persons

employed by or acting on behalf of such counsel) or by counsel for Plaintiffs (or persons

employed by or acting on behalf of such counsel), that were not directly or indirectly furnished

to any non-Party, such as internal memoranda;

                    vi.       documents or communications sent solely between counsel for

Plaintiffs (or persons employed by or acting on behalf of such counsel) and counsel for any non-

Plaintiff state (or persons employed by or acting on behalf of such counsel) up to the date that

such non-Plaintiff state informed any Plaintiff that it would not join the complaint;

                   vii.       documents or communications sent solely between counsel for

Plaintiffs and any Executive Branch agency of the United States;

                   viii.      documents or communications not relating to the Proposed

Transaction or any investigation into and/or oversight of the Proposed Transaction sent solely

between persons employed by executive branch agencies and withheld solely under the

deliberative process privilege;

                    ix.       privileged draft contracts that were not directly or indirectly

furnished to any non-party; and

                     x.       privileged draft regulatory filings and draft litigation filings.

                    xi.       non-responsive, privileged documents attached to responsive

documents.

       To the extent multiple Plaintiffs (e.g., the U.S. Department of Justice and Plaintiff States’

Offices of the Attorney General) are on a given document, and that document is not

presumptively excluded from privilege logs pursuant to this paragraph, that document need only

be logged once and not by all Plaintiffs.




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       18.     Inadvertent Production of Privileged or Work-Product Documents or

Information. Pursuant to Federal Rule of Evidence 502(d), the production of a document or

information subject to a claim of attorney-client privilege, work-product immunity, or any other

privilege or immunity under relevant federal case law and rules does not waive any claim of

privilege, work product, or any other ground for withholding production to which the Party

producing the documents or information otherwise would be entitled, provided that (a) the

production was inadvertent; (b) the Party producing the documents or information used

reasonable efforts to prevent the disclosure of documents or information protected by the

attorney-client privilege, work-product immunity, or any other privilege or immunity; and (c) the

Party producing the documents or information promptly took reasonable steps after discovering

the inadvertent disclosure to rectify the error, including following Federal Rule of Civil

Procedure 26(b)(5)(B).

       19.     Presumptions of Authenticity. Documents and data produced by Parties and

non-parties from their own files in this action or the NEA Case will be presumed to be authentic

within the meaning of Federal Rule of Evidence 901. Any good-faith objection to authenticity

must be provided with the exchange of other objections to intended trial exhibits. If the

opposing side serves a specific good-faith written objection to authenticity, the presumption of

authenticity will no longer apply and the Parties will promptly meet and confer to attempt to

resolve any objection. Any objections that are not resolved through this means or the discovery

process will be resolved by the Court.

       20.     Expert Witness Disclosures and Depositions. Expert disclosures, including

each side’s expert reports, must comply with the requirements of Federal Rule of Civil Procedure

26(a)(2) and 26(b)(4), except as modified by this paragraph. The expert report phasing and




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procedural deadlines contained within this Order are not intended to change or impact in any

way the formal legal burdens applicable to any Party.

       (a)    Neither side must preserve or disclose, including in expert deposition testimony,

              the following documents or information:

              (i)     any form of oral or written communications, correspondence, or work

                      product not relied upon by the expert in forming any opinions in his or her

                      final report shared:

                      (A)    between either side’s counsel and that side’s testifying or non-

                             testifying expert(s);

                      (B)    between any agent or employee of either side’s counsel and that

                             side’s own testifying or non-testifying expert(s);

                      (C)    between testifying and non-testifying experts;

                      (D)    between non-testifying experts; or

                      (E)    between testifying experts;

              (ii)    any form of oral or written communications, correspondence, or work

                      product not relied upon by the expert in forming any opinions in his or her

                      final report shared between experts and any persons assisting the expert;

              (iii)   the expert’s notes, except for notes of interviews participated in or

                      conducted by the expert, if the expert relied upon such notes in forming

                      any opinions in his or her final report;

              (iv)    drafts of expert reports, affidavits, or declarations; and




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               (v)     data formulations, data runs, data analyses, or any database-related

                       operations not relied upon by the expert in forming any opinions in his or

                       her final report.

       (b)     The Parties agree that the following materials will be disclosed:

               (i)     all final reports;

               (ii)    a list by bates number of all documents relied upon by the testifying

                       expert(s) in forming any opinions in his or her final reports;

               (iii)   copies of any materials relied upon by the expert not previously produced

                       that are not readily available publicly;

               (iv)    a list of all publications authored by the expert in the previous 10 years

                       and copies of all publications authored by the expert in the previous 10

                       years that are not readily available publicly;

               (v)     a list of all other cases in which, during the previous 4 years, the expert

                       testified at trial or by deposition, including tribunal and case number; and

               (vi)    for all calculations appearing in the final reports, all data and programs

                       underlying the calculations (including all programs and codes necessary to

                       replicate the calculations from the initial (“raw”) data files and the

                       intermediate working-data files that are generated from the raw data files

                       and used in performing the calculations appearing in the final report) and a

                       written explanation of why any observations in the raw data were either

                       excluded from the calculations or modified when used in the calculations.

       Each expert will be deposed for only one day of 7 hours on the record with all 7 hours

reserved for the side noticing the expert’s deposition; provided, however, that counsel for a Party




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may additionally take reasonable and appropriate redirect examination of that Party’s expert(s).

Depositions of each side’s experts will be conducted only after disclosure of all expert reports

and all of the materials identified in Paragraph 20(b) of this Order for all of that side’s experts.

       21.     Witness List.

               (a)     Preliminary Lists. Plaintiffs collectively are limited to 20 persons

(excluding experts) on their preliminary trial witness list, and Defendants collectively are limited

to 20 persons (excluding experts) on their preliminary trial witness list. The preliminary witness

lists must include the name, employer, address, and telephone number of each witness. With

respect to third parties for which depositions are not complete, such third parties can be

identified in a corporate capacity until the depositions take place.

               (b)     Final Lists. Plaintiffs collectively are limited to 20 persons (excluding

experts) on their final trial witness list, and the Defendants collectively are limited to 20 persons

(excluding experts) on their final trial witness list. Each side’s final trial witness list may

identify no more than 5 witnesses that were not identified on that side’s preliminary trial witness

list. If any new witnesses are added to a final trial witness list that were not on that side’s

preliminary trial witness list and not previously deposed, supplemental document discovery may

be conducted with respect to such person(s), even if outside the close of discovery, and any

deposition(s) by the other side of such witness(es) will not count against that other side’s total

depositions. Any document discovery and/or deposition notices of new witnesses on the Parties’

final trial witness lists must be issued within 7 days of service of the final trial witness lists. The

final trial witness lists must comply with Federal Rule of Civil Procedure 26(a)(3)(A)(i)–(ii),

must include the name, employer, address, and telephone number of each witness, and must

include a brief summary of the subjects about which any expert witnesses will testify.




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                  (c)     General Principles for Witness Lists. In preparing preliminary trial

witness lists, final trial witness lists, and expert disclosures, the Parties must make good-faith

attempts to identify the witnesses whom they expect that they may present as live witnesses at

trial (other than solely for impeachment). No Party may call a person to testify as a live witness

at trial (other than solely for impeachment) unless (i) that person was identified on that Party’s

final trial witness list or the opposing Party’s final trial witness list; (ii) all Parties agree that a

Party may call that person to testify; or (iii) that Party demonstrates good cause for allowing it to

call that person to testify, despite that Party’s failure to identify that person as a trial witness

sooner. Witnesses whose testimony will be offered into evidence at trial through designated

portions of their deposition testimony shall be identified on final trial witness lists, however

those witnesses do not count against the limits on the numbers of persons who may be identified

on those lists.

                  Plaintiffs’ Proposal                      Defendants’ Proposed Additional
                                                         Language in Paragraph 21(c) Prohibiting
                                                          the Affirmative Use of Depositions for
                                                              Witnesses Called Live at Trial

                                                       No Party may designate or offer the
                                                       deposition testimony of a witness as evidence
    [Strike Defendants’ proposed language.]            if that witness will be called live at trial;
                                                       provided, however, that nothing limits the use
                                                       of deposition testimony for impeachment.

                  Plaintiffs’ Position                              Defendants’ Position


 Defendants have proposed a blanket ban on             Defendants respectfully submit that if a
 using deposition designations from a witness          witness testifies live at trial, the Parties can
 who will testify live at trial, with a limited        and should ask any questions they have for
 exception for impeachment. Their proposal is          that witness at trial, and the live testimony
 contrary to the Federal Rules of Civil                would render irrelevant the deposition
 Procedure and Federal Rules of Evidence. It           testimony of that same witness, except for
 would also hinder the efficient presentation of       impeachment. Defendants’ commonsense
 evidence to the Court. The Rules provide that         approach reduces burden on the Parties (by
 “[a]n adverse party may use for any purpose           not having to designate, counter-designate,


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    the deposition of a party or anyone who, when            counter-counter-designate, object, and
    deposed, was the party’s officer, director,              negotiate over designations for a witness who
    managing agent, or designee under Rule                   will appear live) and the Court (by not having
    30(b)(6) or 31(a)(4),” Fed. R. Civ. P. 32(a)(3)          to rule on disputes or take designated
    (emphasis added), and that statements made               testimony into evidence when the witness will
    by opposing “party’s agent or employee on a              be in the courtroom). Plaintiffs cite cases that
    matter within the scope of that relationship             primarily support the proposition that
    and while it existed” are not hearsay, Fed. R.           deposition testimony is not hearsay and can
    Evid. 801(d)(2)(D). Under Rule 32(a)(3), a               be used at trial even when a witness is
    party deposition may “be used by an adverse              available to testify. But Defendants are not
    party regardless of the presence or absence of           seeking to limit the use of depositions based
    the deponent at the hearing or trial and                 on hearsay or witness availability. Rather,
    regardless of whether the deponent is                    Defendants seek to preclude Plaintiffs from
    available to testify or has testified there.” N.         designating deposition testimony of a witness
    Ins. Co. of N.Y. v. Albin Mfg., Inc., 2008 WL            who testifies at trial, as it would be highly
    3285852, at *3 n.4 (D.R.I. Aug. 8, 2008)                 redundant. DOJ itself has agreed to the
    (citation omitted and emphasis added). “The              approach Defendants propose in multiple
    rule is to be liberally construed, and though            other merger matters. U.S. v. Bertelsmann SE
    the court ‘has discretion to exclude parts of            & Co. KGaA et al., No. 21-2886-FYP
    the deposition that are unnecessarily                    (D.D.C.), ECF No. 119-1; U.S. v. Assa Abloy,
    repetitious in relation to the testimony of the          et al., No. 1:22-cv-02791-ABJ (D.D.C.), ECF
    party on the stand, it may not refuse to allow           No. 51. And DOJ agreed to this approach in
    the deposition to be used merely because the             the pre-trial order in the NEA action, which
    party is available to testify in person.’” Id.           was so-ordered by Judge Sorokin. See
    (quoting 8A Wright et al., Fed. Practice &               Pretrial Order, United States, et al. v.
    Procedure § 2145) (brackets omitted); see                American Airlines Group, Inc., et al., No.
    also Cmty. Counselling Serv., Inc. v. Reilly,            1:21-cv-11558-LTS, ECF. 196 at ¶¶ 27-31
    317 F.2d 239, 243 (4th Cir. 1963) (“It has               (providing for the use of all deposition
    been consistently held that the Rule permits a           testimony, whether or not designated, for
    party to introduce, as part of his substantive           cross-examination, impeachment, or rebuttal
    proof, the deposition of his adversary, and it           purposes and for the use of deposition
    is quite immaterial that the adversary is                designations only as to those not included on
    available to testify at the trial or has testified       the parties’ final trial witness lists and for any
    there.”) (emphasis added).3                              witness on either side’s final witness list who
                                                             neither side will be calling to testify live at
    Even where a witness testifies live,                     trial).
    designating deposition testimony of that
    witness promotes efficiency for the admission
    of documents, providing support on
    contextual or other background subjects for
    pre-trial briefs and opening statements, and
    permitting introduction of party admissions
    into the record. Defendants’ request for a

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  Contrary to Defendants’ characterization, in Northern Insurance the district court admitted deposition testimony
from a party witness who testified live at trial, and in Community Counselling the court of appeals reversed the trial
court for failing to do just that.


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 wholesale bar on such party depositions is
 contrary to the relevant rules and undermines
 judicial economy. It is also premature now, at
 the outset of discovery and well before the
 parties exchange witness lists.

 While Plaintiffs disagree with the Defendants’
 characterizations of proceedings in other
 cases, including two on the eve of trial, none
 of those cases imposed at the outset of a case
 the order that Defendants propose here to
 modify Rule 32(a(3). Whatever stipulations
 the parties may or may not reach after
 discovery is concluded, the available evidence
 is known and trial is impending, there is no
 basis to require such provisions in a Case
 Management Order.


        22.       Demonstrative Exhibits. At least one month before the start of trial, the Parties

agree to meet and confer regarding a protocol for serving demonstrative exhibits on opposing

counsel before the start of any trial day where any such exhibit may be introduced (or otherwise

used) at trial.

        23.       Service of Pleadings and Discovery on Other Parties. Service of all pleadings,

discovery requests (including subpoenas for testimony or documents under Federal Rule of Civil

Procedure 45), expert disclosures, and delivery of all correspondence in this matter must be made

by ECF if required by applicable rule or otherwise by email, except when the volume of

attachments requires overnight delivery of the attachments or personal delivery, to the following

individuals designated by each Party:

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       For purposes of calculating discovery response times, electronic delivery at the time the

email was received will be treated in the same manner as hand delivery at that time.

       24.     Proposed Divestitures

  Plaintiffs’ Proposed Language Regarding             Defendants’ Proposed Language
    the Timing of Production of Certain             Regarding the Timing of Production of
            Divestiture Documents                      Certain Divestiture Documents


 To promote orderly and fair discovery of facts   In addition to the two productions containing
 related to Defendants’ proposed divestitures,    all original draft agreements and relevant
 in addition to the two productions containing    correspondence concerning the proposed
 all original draft agreements and relevant       divestitures of Defendants’ assets in Boston
 correspondence concerning the proposed           Logan International Airport, LaGuardia
 divestitures of Defendants’ assets in Boston     Airport, Newark Liberty International
 Logan International Airport, LaGuardia           Airport, and Fort Lauderdale-Hollywood
 Airport, Newark Liberty International            International Airport (the “Proposed
 Airport, and Fort Lauderdale-Hollywood           Divestitures”) pursuant to CID No. 31393,
 International Airport (the “Proposed             Defendants will produce any additional
 Divestitures”) pursuant to CID No. 31393,        documents concerning the Proposed
 Defendants will produce any additional           Divestitures in response to any document
 documents concerning the Proposed                request served under Paragraph 10(a).
 Divestitures promptly after such documents       Furthermore, within one business day of
 are created. Furthermore, within one business    entering into any agreement concerning the
 day of entering into any agreement               Proposed Divestitures, Defendants will
 concerning the Proposed Divestitures,            provide Plaintiffs a copy of the agreement. If
 Defendants will provide Plaintiffs a copy of     such agreement has not been entered by May
 the agreement. Defendants must produce           8, 2023, the Parties will meet and confer, if
 such evidence by or before May 8, 2023.          necessary, to ensure Plaintiffs have adequate
 Defendants shall not be permitted to introduce   discovery concerning the divestiture
 or otherwise rely on documentary evidence        agreement.
 and/or data concerning the Proposed
 Divestitures tendered or generated after May
 8, 2023 as such evidence is unfairly
 prejudicial under Federal Rule of Evidence
 403. This paragraph shall not be construed to
 require the exclusion of evidence arising from
 efforts to comply with future rulings
 (including changes in business plans required
 to comply with any such future rulings) in the
 NEA Case.




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             Plaintiffs’ Position                               Defendants’ Position


In merger challenges, Defendants often seek         Defendants identified the assets to be divested
(1) to remedy or mitigate harms caused by the       in the Agreement and Plan of Merger among
merger with collateral agreements to divest         JetBlue Airways Corporation, Sundown
certain assets or rights (the subject of this       Acquisition Corp., and Spirit Airlines Inc. on
paragraph), and (2) to promote benefits they        July 28, 2022, meaning that Plaintiffs have
believe will be realized if the merger is           long been on notice of the assets that would
allowed to proceed (the subject of Paragraph        be divested. Plaintiffs also already know the
25). These are fact-intensive inquiries which       potential buyers of the divestiture assets and
are predictable areas of focus at trial. Here,      have already sought and received documents
the present disputes turn on when Defendants        from those potential buyers in the
will create and produce a factual record            investigation of the proposed merger. In
purporting to support their positions.              addition, Defendants also produced
                                                    divestiture-related documents in the
Although “divestiture commitments” have             investigation, including correspondence with
been a keystone of JetBlue’s antitrust defense      the potential buyers and the draft asset
for at least eleven months, JetBlue has still       purchase agreements sent by JetBlue to the
not entered into any agreement to actually          potential buyers. This means that the
divest those assets. Plaintiffs will be unfairly    Plaintiffs know what JetBlue and Spirit plan
prejudiced if JetBlue is allowed to prolong         to sell, who they plan to sell it to, and the
divestiture negotiations so as to deprive           proposed terms offered for the sale. JetBlue
Plaintiffs of a fair opportunity to take            is currently in negotiations to finalize the
discovery of Defendants and the actual              divestiture transactions, and Defendants have
divestiture buyers based on any final               proposed to produce final divestiture
divestiture agreements, rather than                 agreements one business day after they have
Defendants’ currently tentative “plan,” “draft      been signed.
. . . agreements” and “proposed terms.”
Plaintiffs accordingly propose a May 8, 2023        Defendants have agreed to make efforts to
cutoff date for divestiture evidence on which       finalize and produce those agreements no
Defendants may rely—the same date that              later than May 8, 2023 (the date Plaintiffs
Defendants themselves propose, and which is         selected as the point by which they wish to
necessary to allow for pertinent party and          have this discovery) and to discuss with
third-party fact discovery.                         Plaintiffs how to proceed if those agreements
                                                    are not signed by May 8, 2023. Plaintiffs
The dispute concerns what occurs if                 have rejected this proposal and instead
Defendants fail to meet this deadline.              overreach by seeking a draconian remedy of
Plaintiffs believe May 8, 2023 should be a          complete preclusion of divestiture evidence if
genuine deadline with real consequences for         documents are not produced by May 8, 2023.
non-compliance. Courts in merger cases have         Plaintiffs’ approach would severely prejudice
excluded evidence of proposed divestitures          Defendants. Plaintiffs essentially seek a
where that evidence is offered unfairly late.       predictive ruling on a motion in limine that
For example, in FTC v. Ardagh Grp., S.A.,           has yet to be filed—before there has been any
No. 13-1021 (D.D.C.), the court refused to          indication whether or not they will be
consider a divestiture that was still being         prejudiced. Further, Plaintiffs’ proposal
negotiated while defense witnesses were


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    being deposed.4 Merger case management                   would place the Court in the odd position of
    orders routinely provide that divestiture                having to analyze a merger that by its terms
    evidence will be excluded under Rule 403 if              contemplates divestitures without being able
    not produced well before the end of fact                 to fully consider such divestitures if they are
    discovery, as Plaintiffs propose. See ECF 53             not completed by Plaintiffs’ arbitrary date.
    at 20-21, United States v. Bertelsmann SE &              Plaintiffs cite U.S. v. Bertelsmann SE & Co.
    Co. KGaA, No. 21-2886 (D.D.C.); ECF                      KGaA et al., No. 21-2886-FYP (D.D.C.), but
    No. 52 at 22, United States v. AON plc, No.              that case is entirely distinguishable as there
    21-1633 (D.D.C.). In another pending merger              were no divestiture or license of assets
    case, the schedule provided for “day-for-day”            reflected in the purchase agreement or at issue
    extensions of fact discovery and other pretrial          at trial. Here, by contrast, the divestitures are
    deadlines if divestiture documents were not              central. FTC v. Ardagh Grp., S.A., No. 13-
    timely produced, and after divestiture-related           1021 (D.D.C.), is even less relevant. In that
    pre-trial disputes, the court extended fact              case, the court declined to hear evidence of a
    discovery and, ultimately, delayed the trial.            proposed divestiture first presented to the
    ECF 46 at 21-22 & 1/18/13 & 4/3/23 Minute                FTC after the scheduled close of fact
    Orders, United States v. ASSA ABLOY AB,                  discovery, after expert reports were
    No. 22-cv-2791 (D.D.C.). Here, because the               submitted, and only three weeks before the
    Court has made clear that its trial date is firm,        start of the trial—and even then the
    Plaintiffs are not seeking potential schedule            defendants had not identified the buyer. In
    extensions as in ASSA ABLOY. Instead,                    Assa Abloy, unlike here, the merger
    Plaintiffs request a bright-line rule to keep            agreement did not require divestitures or
    this case on track while preventing unfair               identify the scope of divestitures, and the DOJ
    prejudice to Plaintiffs from delays within               did not know the identity of the divestiture
    Defendants’ control. For the same reason, the            buyers before filing the complaint.
    Court should reject Defendants’ “wait and
    see” approach as inadequate.                             Defendants recognize that Plaintiffs are
                                                             entitled to the final divestiture agreements and
                                                             have offered to produce them promptly upon
                                                             signing and to meet-and-confer in good faith
                                                             should the agreements not be signed by May
                                                             8, 2023. Unlike Plaintiffs’ proposal,
                                                             Defendants’ approach maintains the ability of
                                                             both parties to preserve their rights—
                                                             including Plaintiffs’ right to move to exclude
                                                             evidence of the divestitures if they can
                                                             demonstrate actual prejudice—regarding the
                                                             use and admissibility of such evidence and is
                                                             also consistent with past practice in other
                                                             merger trials.




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    9/24/13 Tr.at 29, https://www.ftc.gov/sites/default/files/documents/cases/130924ardaghtranscript.pdf.


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      25.    Alleged Benefits / Network Plan

 Plaintiffs’ Proposed Language Regarding               Defendants’ Proposed Language
  the Timing of Production of Documents              Regarding the Timing of Production of
        Relating to Alleged Benefits                        Certain Network Plans


Alleged Benefits. To promote orderly and         Network Plan. Defendants will produce in
fair discovery of facts related to Defendants’   response to any document request served
future plans if the Proposed Transaction is or   pursuant to Paragraph 10(a) plans developed
is not consummated, Defendants will produce      for the combined JetBlue/Spirit network if the
plans developed for the combined                 Proposed Transaction is consummated or for
JetBlue/Spirit network if the Proposed           the separate JetBlue or Spirit networks if the
Transaction is consummated or for the            Proposed Transaction is not consummated
separate JetBlue or Spirit networks if the       (“Network Plans”) promptly after they are
Proposed Transaction is not consummated          developed in the ordinary course of business.
(“Network Plans”) and any other future plans     If such Network Plans are not finalized and
for JetBlue/Spirit promptly after they are       produced by May 8, 2023, the Parties will
developed. Defendants must produce such          meet and confer, if necessary, to ensure
evidence by or before May 8, 2023.               Plaintiffs have adequate discovery concerning
Defendants shall not be permitted to introduce   them. The Parties recognize that Network
or otherwise rely on documentary evidence        Plans may change as a result of subsequent or
and/or data concerning future plans for the      unforeseen events occurring after May 8,
purpose of supporting the claimed benefits of    2023. Defendants will promptly produce any
the Proposed Transaction tendered or             such changes to Plaintiffs, and Plaintiffs
generated after May 8, 2023 as such evidence     reserve all rights related to discovery and
is unfairly prejudicial under Federal Rule of    admissibility of such changes.
Evidence 403. This paragraph shall not be
construed to require the exclusion of evidence
arising from efforts to comply with future
rulings (including changes in business plans
required to comply with any such future
rulings) in the NEA Case.

Defendants may seek modification of this
provision of the CMO if circumstances
beyond Defendants’ control, unforeseeable as
of May 8, 2023, require changes to Network
Plans or other future plans. Prior to moving
for such modification, Defendants must
promptly produce (within two business days
of their creation) all documents and data
regarding such modification and the reasons
for such modification, and make Rule
30(b)(6) deponents available about the
changes at Plaintiffs’ reasonable convenience
(notwithstanding any other limitations on


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depositions). After such production and
deposition, Defendants may move for
modification of this Order to allow for the
potential admissibility of such evidence only
on a showing of good cause and that Plaintiffs
were not unfairly prejudiced.

             Plaintiffs’ Position                              Defendants’ Position


Plaintiffs expect Defendants to try to show        Defendants plan to produce the combined
benefits of their proposed merger based on         network plan in advance of May 8, 2023. But
purportedly “ordinary course” documents            the airline industry is dynamic and rapidly
about JetBlue’s plans for the combined             developing, and it is possible there could be
airline, as well as documents about JetBlue’s      updates to the network plan after May 8,
and Spirit’s contingency plans if the merger is    2023. As with the divestiture agreements,
blocked. For example, JetBlue may try to           Plaintiffs’ proposal is again overreaching and
rely on a “combined network plan” for the          seeks to pre-ordain a harsh penalty.
merged airline to support purported benefits       Defendants’ proposal does not extinguish
of the merger. Despite multiple requests           Plaintiffs’ right to later seek to exclude such
during the government’s pre-complaint              evidence; it merely seeks to prevent the
investigation, JetBlue failed to produce a         extraordinary ruling that prejudice will be
combined network plan and claimed it was           presumed at the outset of this case based on
deferring creating such a plan. This decision      an arbitrary date. The past several years have
was a tactical choice that impeded the             taught us that unexpected events can have a
government’s ability to evaluate JetBlue’s         significant impact on travel patterns, and if
arguments about consumer benefits. Now             something should happen that requires
Defendants represent that they expect to           JetBlue to update the combined network plan
produce their combined network plan by             (e.g., a natural disaster severely limits the
May 8, 2023.                                       ability to fly from an airport one of the
                                                   airlines serves), Defendants should be
Plaintiffs ask the Court to hold Defendants to     permitted an opportunity to at least ask the
this deadline to ensure a fair and efficient       Court to hear evidence on the changes.
trial. Defendants control when they create         Indeed, Plaintiffs’ own proposal implicitly
their own network plan and other evidence          acknowledges that changes may be required
that the merger is supposedly not harmful,         based on future events by carving out an
such as integration plans, fleet plans, and        exception for a future event Plaintiffs would
route/airport entry or exit plans. It would be     welcome (i.e., an adverse ruling on JetBlue’s
unfairly prejudicial for Defendants to rely on     Northeast Alliance with American Airlines).
their own internal documents if Defendants
wait until the end of fact discovery (or later)    Defendants should not be forced to
to create and produce them. Accordingly, as        prematurely give up their rights to rely on
with divestiture evidence, such evidence           such evidence if it is not produced by the
should be excluded under Rule 403 if               arbitrary date Plaintiffs propose. Accordingly,
Defendants offer it to support their case after    Defendants’ proposed provision contemplates
producing it untimely. If there are                that Defendants will promptly produce any
unforeseeable changed circumstances,               revised network plans and that they will work


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 Plaintiffs’ proposal permits Defendants to         in good faith to ensure that Plaintiffs have
 seek to modify this provision if there is good     adequate discovery. Defendants’ proposal
 cause and Plaintiffs are not unfairly              here again is consistent with past practice in
 prejudiced.                                        other merger trials and equitably preserves the
                                                    rights of both parties with respect to discovery
                                                    and the admissibility of such evidence.


       26.     Nationwide Service of Trial Subpoenas. To assist the Parties in planning

discovery, and in view of the geographic dispersion of potential witnesses in this action outside

this District, the Parties are permitted, under 15 U.S.C. § 23, to issue trial subpoenas that may

run into any other federal district requiring witnesses to attend this Court. The availability of

nationwide service of process, however, does not make a witness who is “unavailable” for

purposes of Federal Rule of Civil Procedure 32 and Federal Rule of Evidence 804 available

under those rules or otherwise affect the admissibility at trial of a deposition of a witness.

       27.     Modification of Scheduling and Case Management Order. Any Party may

seek modification of this Order for good cause, except that the Parties may also agree to modify

discovery and expert disclosure deadlines by agreement.

                                                               SO ORDERED:



                                                               Hon. William G. Young
                                                               United States District Judge

Dated: April __, 2023




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